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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                          CASE NO. 23-20562

v.                                               HON. LINDA V. PARKER

D-1 PATRICK WIMBERLY,

             Defendant.
                                 /

         STIPULATION REGARDING DISCOVERY MATERIALS

      The government has in its possession materials gathered during the

investigation of the defendant in this case. These materials include, among other

things, audio recordings and law enforcement reports about those recordings

(collectively, the “discovery materials”).

      The government will provide all discovery materials to defense through its

secure file-sharing platform (USAfx), electronically on encrypted media (e.g., a CD

or DVD), or through email.

      The discovery materials are sensitive for several reasons, including because

they contain information and/or recordings of and/or by cooperating individual(s).

Accordingly, the disclosure of these materials could impact the safety of the


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cooperating individual(s) and could compromise other investigations. Accordingly,

the parties hereby agree to the following restrictions on the use and disclosure of

the discovery materials:

             a)    Undersigned defense counsel will keep custody of the

      discovery materials and will not make any copies unless otherwise expressly

      permitted in this stipulated protective order.

             b)    Undersigned defense counsel will only allow the following

      individuals to obtain a copy of the discovery materials: (1) individuals who

      are employed by and/or work with defense counsel for purposes of preparing

      the defense in this matter, e.g., paralegals or investigators and (2) the

      Defendant. Neither the defendant nor any of these other designated

      individuals will allow for further dissemination. Counsel for the defendant,

      prior to providing the discovery materials, will inform persons of the

      disclosure limitations of this stipulation and order.

             c)    For any discovery material that contains information about or

      from a cooperating individual, the government will designate such

      material(s) by designating that these materials are “To be Retained by

      Defense Counsel.” Defense counsel will allow viewing and/or listening of

      these discovery materials by (1) individuals who are employed by and/or

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    work with defense counsel for purposes of preparing the defense in this

    matter, e.g., paralegals or investigators and (2) the Defendant. Defense

    counsel will not allow these individuals to obtain or keep a paper or

    electronic copy of this sub-set of the discovery materials except as otherwise

    stated in this stipulation. Any notes created by either category of individuals

    (1) and (2) listed immediately above must be maintained by defense counsel

    (e.g., such individuals may not retain any notes they create during their

    review of the contents of the “To be Retained by Defense Counsel”

    material). Defense counsel shall not allow disclosure (including viewing

    and/or listening) to any other person except as specially authorized in this

    stipulated order.

          d)     If a discovery coordinator is appointed or engaged to assist in

    this case, the discovery coordinator (and any person assisting or supporting

    the discovery coordinator) shall be considered as working with defense

    counsel and all provisions and disclosure limitations herein apply.

          e)     Should the parties wish to attach any discovery materials to any

    pleading filed with the court, those discovery materials shall be filed under

    seal unless there is an agreement of the parties or order of the court.

    Similarly, the identity of any cooperating individual will not be identified in

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      public pleadings or pretrial hearings without agreement by the parties or

      authorization of the court.

             f)    Undersigned defense counsel is permitted to use the discovery

      materials in court hearings in this matter as necessary to the defense and as

      otherwise permitted by the Federal Rules of Evidence and Criminal

      Procedure. To this end, undersigned defense counsel is permitted to make a

      “hard” or paper copy of the discovery materials if it is necessary in hearings

      in this matter (e.g., in cross examination) so long as those copies are

      destroyed at the conclusion of this matter and/or returned to the government.

      The defendants’ need for the discovery materials outweighs the Privacy Act

interests involved, pursuant to 5 U.S.C. § 552a. To the extent that the disclosure of

the discovery materials pursuant to this stipulation and order may result in the

disclosure of information protected from non-consensual distribution by the

Privacy Act, the parties are authorized to disclose such information and shall not

be found to have violated the Privacy Act by such disclosures.




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So stipulated:

s/Steven Cares                            s/Nancy McGunn (w/ consent)
Steven Cares                              Nancy McGunn
Eaton Brown                               Natasha Webster
Assistant U.S. Attorneys                  Attorneys for Patrick Wimberly
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                        CASE NO. 23-20562

v.                                             HON. LINDA V. PARKER

D-1 PATRICK WIMBERLY,

             Defendant.
                                 /

       PROTECTIVE ORDER BASED ON PARTIES’ STIPULATION

      Upon this Court’s consideration of the parties’ stipulation and for the

reasons stated by the parties,

      IT IS ORDERED that the pretrial disclosure of the materials identified by

the parties’ in their stipulation are controlled by the provisions of that agreement,

and the government is authorized to disclose the materials as requested.

      SO ORDERED.

                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE
 Dated: October 24, 2023




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